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 11
 12                       UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14                                                    Case No.: 2:16-cv-05051-GW-AFM
      ALS SCAN, INC., a Maryland
 15   corporation,                                     PLAINTIFF’S MEMORANDUM OF
 16                                                    POINTS AND AUTHORITIES IN
                  Plaintiff,                           OPPOSITION TO LATE-FILED
 17                                                    MOTIONS IN LIMINE BY
                                                       DEFENDANT CLOUDFLARE, INC.
 18      vs.                                           TO EXCLUDE TESTIMONY OF
                                                       CHRISTOPHER BOFFOLI AND
 19                                                    INTERNET EVIDENCE
      CLOUDFLARE, INC., a Delaware
 20   corporation, et al.,                             Date: April 23, 2018
 21                                                    Time: 8:30 a.m.
                   Defendants.                         Place: Courtroom 9D
 22
                                                              350 W. 1st Street
 23                                                           Los Angeles, CA
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  1                            SUMMARY OF OPPOSITIONS
  2         ALS objects to Cloudflare’s MIL 10 (Christoper Boffoli) and 11 (Internet
  3   evidence) as untimely filed.
  4         Further, they lack merit.
  5         Mr. Boffoli had recently filed a lawsuit against Cloudflare for coyright
  6   infringement. Mr. Boffoli served Cloudflare, then he and Cloudflare apparently
  7   reached a quick settlement. ALS only learned of Christopher Boffoli and his
  8   potential testimony within the last few weeks. ALS therefore disclosed Mr.
  9   Boffoli on its draft witness list. Cloudflare knew of Mr. Boffoli and his
 10   copyright contentions before ALS. There is no surprise. His testimony should
 11   be not excluded.
 12         Cloudflare is wrong that evidence of what appears live on the Internet is
 13   inadmissible law opinion. Not surprisingly, Cloudflare fails to cite a single
 14   authority holding that a jury may not witness what appears on the Internet.
 15   Admission of Internet evidence, like evidence in any other form, is subject to
 16   ordinary rules of authentication and relevance. There is nothing about the
 17   nature of the Internet makes it categorically inadmissible.
 18                                         ARGUMENT
 19    I.     CLOUDFLARE’S MOTION IN LIMINE TO EXCLUDE
 20           CHRISTOPHER BOFFOLI SHOULD BE DENIED.
 21         Christopher Boffoli filed a Complaint for Copyright Infringement against
 22   Cloudflare in the Western District of Washington on February 2, 2018. 2:18-
 23   cv-00163. Mr. Boffoli’s complaint avers that he provided Cloudflare with
 24   notice of infringement of his works on Cloudflare customer sites, both through
 25   Cloudflare’s web form and also email, yet the infringements were not removed
 26   and Cloudflare failed to take steps to either remove the content or terminate
 27   services to the customer. Mr. Boffoli will testify to the lack of efficacy of, and
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  1   his frustration with, Cloudflare’s web abuse form and Cloudflare’s abject
  2   refusal to process notices of infringement tendered via email.
  3         Mr. Boffoli says he was contacted by Cloudflare, agreed to a confidential
  4   settlement and dismissed the action.
  5         Although Cloudflare knew about Mr. Boffoli and his lawsuit, ALS did
  6   not, at least until recently, shortly before the parties were to exchange draft
  7   witness lists. ALS put Mr. Boffoli on its witness list exchanged with Cloudflare
  8   on March 23, 2018.
  9         Although Cloudflare could have included its quarrel with the testimony
 10   of Mr. Boffoli when motions in limine were due on April 1, 2018, it did not.
 11         Disclosure of late-discovered information need not take the form of a
 12   formal supplement to a prior R.26 disclosure. “The duty to supplement
 13   imposed by Fed.R.Civ.P. 26(e)(1) does not require an application of form over
 14   substance.” Coleman v. Keebler Co., 997 F.Supp. 1102, 1107 (N.D. Ind. 1998).
 15   There, testimony from late-discovered witnesses was not excluded because the
 16   defendant became aware of the witnesses during a deposition.
 17         Here, Mr. Boffoli came to light after the discovery cutoff. Cloudflare
 18   was the first to become aware of Mr. Boffoli, when he filed and served his
 19   Complaint. Cloudflare knew of Mr. Boffoli’s contentions. His correspondence
 20   with Cloudflare was attached to his Complaint. Cloudflare contacted him to
 21   negotiate a settlement.
 22         ALS learned about Mr. Boffoli only after Cloudflare was already aware
 23   of him and his contentions.
 24         There is no unfairness or prejudice to Cloudflare if his testimony is
 25   admitted. To the contrary, there would be unfairness and prejudice to ALS if it
 26   could not avail itself of testimony from a witness whose identity was recently
 27   discovered by ALS and who was already known to Cloudflare.
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  1   II.   CLOUDFLARE’S MOTION IN LIMINE TO EXCLUDE
  2         INTERNET EVIDENCE SHOULD BE DENIED.
  3         Cloudflare has known that this case is about images on the Internet from
  4   inception. ALS has been saying throughout the case that Mr. Easton’s emails
  5   contain live hyperlinks that, when clicked, simultaneously disclose the image
  6   infringed and its location on the Cloudflare customer site.
  7         Cloudflare should have anticipated this issue and filed a motion in limine
  8   when they were due on April 1, 2018. There is no valid reason why the Court
  9   should hear a motion in limine not filed until April 19, 2018.
 10         If the Court entertains the motion, it should be denied.
 11         There is nothing magical or mysterious about the Internet such that its
 12   contents, as it appears live, should be excluded from evidence. Evidence of
 13   content on the Internet, like any other evidence, should be subject to customary
 14   rules of authentication and relevance.
 15         Not surprisingly, Cloudflare fails to cite a single case where any court
 16   supported Cloudflare’s position. They cite no case excluding Internet content
 17   under FRE 403. They cite no case excluding Internet content on the grounds
 18   that identifying the website in question involves a lay opinion.
 19         The reason Cloudflare is fighting to keep Mr. Easton’s emails out of
 20   evidence, and the prospect of live Internet evidence, is that Cloudflare does not
 21   want the jury to realize: a) Easton’s hyperlinks showed Cloudflare which works
 22   were infringed and where the infringements were located; and b) even after
 23   notice to Cloudflare of infringement, a number of infringing images disclosed
 24   in Easton’s emails remain live on Cloudflare client sites. This is highly relevant
 25   evidence, which the jury should be entitled to see.
 26         Cloudflare seeks to confuse the issues by suggesting, without basis, that
 27   any testimony about what appears on the Internet is somehow “opinion”
 28   testimony under FRE 701. This is nonsense. Electronic evidence, just like

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  1   paper evidence, is subject to ordinary rules of authentication, relevance and
  2   similar principles of evidence. Lorraine v. Markel Am. Ins. Co., 241 F.R.D.
  3   534 (D. Mar. 2007) (reviewing evidentiary bases for introduction of electronic
  4   evidence).
  5         Evidence of Internet content supported by testimony from a lay witness
  6   has long been admitted. See Perfect 10, Inc. v. Cybernet Ventures, 213
  7   F.Supp.1146, 1153-55 (C.D. Cal. 2002). There, a declaration attesting that
  8   pages printed from the Internet reflected the page as seen at the time, together
  9   with other indicia (date and web addresses) on the printouts, was sufficient to
 10   authenticate the exhibits. Id. at 1154. Further, printouts of Internet content
 11   were not statements for hearsay purposes, and thus could be used to show that
 12   certain images were on the website in question. Id. at 1155. See 21st Century
 13   Financial Services, LLC v. Manchester Financial Bank, 3:15-cv-1848-BTM
 14   (S.D. Cal. 6/8/17) (reciting cases accepting screen shots of web pages where the
 15   lay proponent testifies the exhibit is a true and correct capture of what was
 16   observed at the time).
 17         From these cases, live display of Internet content as evidence of what the
 18   web pages contains is a short step, conceptually no different than authentication
 19   of paper screen captures.
 20         Here, Mr. Easton will testify that when he witnessed infringing ALS
 21   content on a Cloudflare customer site, he both identified the image infringed
 22   and noted its location on the infringing site by including a live hyperlink for
 23   each infringed exhibit in his notifications. Cloudflare’s motion is an indirect
 24   attempt to prevent the jury from realizing that the Easton emails provided full
 25   actual knowledge of infringement of ALS works. Plus, some of the infringing
 26   images in the Easton notices remain live on the Internet. If Mr. Easton or
 27   another witness hovers the mouse over a live hyperlink and clicks, that witness
 28   should be permitted to testify to the result displayed in a browser. The

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  1   phenomenon that a hyperlink, when clicked, causes a web page to appear in a
  2   browser is within the ken of a lay witness and the jury. No “opinion” testimony
  3   is required.
  4         If the jury sees that an ALS image listed in an Easton notice remains live
  5   on a Cloudflare client site, this will not cause the out-of-control “Wild West”
  6   scene over which Cloudflare wrings its hands in MIL 11.
  7         Cloudflare apparently has a technical quarrel with whether use of the
  8   term “resolve” accurately describes what happens when a witness clicks on a
  9   hyperlink and sees the result in a browser. Whether a witness says that clicking
 10   on a hyperlink causes the browser on a computer to “resolve” to a webpage, or
 11   that the webpage “appears” as a result of clicking on the browser, or words to
 12   similar effect, seems like an inconsequential quarrel over word choice, nothing
 13   approaching testimony that should be excluded as unfairly prejudicial or
 14   constituting lay opinion.
 15
 16   DATED: April 22, 2018                      SPILLANE LAW GROUP PLC
                                                 GALLAGHER & KENNEDY, P.A.
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                                                 By: _____________________________
 20                                                          Jay M. Spillane
                                                 Attorneys for Plaintiff ALS Scan, Inc.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION
TO LATE-FILED MOTIONS IN LIMINE BY DEFENDANT CLOUDFLARE, INC. TO
EXCLUDE TESTIMONY OF CHRISTOPHER BOFFOLI AND INTERNET
EVIDENCE
will be served or was served (a) on the judge in chambers in the form and manner required by Local Rules and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 22, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) April 22, 2018, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) April 22, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/22/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
